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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF FLORIDA
                                    GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                   Case # 1:02CR45-003

CRAIG CHARLES BOLLES
                                                       Defendant’s Attorney:
                                                       Lee Cohn (Retained)
                                                       600 S. Andrews Avenue, Ste 405
                                                       Ft. Lauderdale, FL 33301
___________________________________

                          SECOND AMENDED JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Count 1 of the Indictment on May 5, 2003. Accordingly, IT IS
ORDERED that the defendant is adjudged guilty of such count(s) which involve(s) the following
offense(s):

    TITLE/SECTION                    NATURE OF                   DATE OFFENSE
       NUMBER                         OFFENSE                     CONCLUDED               COUNT

 21 U.S.C. § 841(a)(1),   Conspiracy to Distribute and to          May 28, 2002             One
 841(b)(1)(A)(ii), 841    Possess With Intent to Distribute
 (b)(1)(C) and 846        More Than 5 Kilograms of a Mixture
                          or Substance Containing Cocaine
                          and a quantity of 3, 4 Methylene-
                          dioxymethamphetamine (MDMA)

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No.      xxx-xx-xxxx
Defendant’s Date of Birth:     xx/xx/1968
Deft’s U.S. Marshal No.:       56433-004                       Date of Imposition of Sentence:
                                                               November 12, 2003
Defendant’s Residence Address:
REDACTED

Defendant’s Mailing Address:                                           s/Maurice M. Paul
Same as above
                                                               MAURICE M. PAUL, SENIOR
                                                               UNITED STATES DISTRICT JUDGE

                                                               September 21 , 2007
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 170 months.


      It is the recommendation of the Court while in the custody of the Bureau of Prisons, the
defendant be allowed to participate in a drug treatment program.

         The defendant shall surrender to the United States Marshal in Ft. Lauderdale, FL or to the
institution designated by the Bureau of Prisons on December 12, 2003, no later than 12:00 noon.
The Surety bond is continued until the executed return of judgment is filed with the court at which
time the bond is exonerated.


         .




                                            RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES MARSHAL


                                                   By:__________________________________
                                                               Deputy U.S. Marshal




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                                        SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of 5 years.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

       While on supervised release, the defendant shall not commit another federal, state or local
crime and shall not possess a firearm, destructive device, or any other dangerous weapon

       For offenses committed on or after September 13, 1994: The defendant shall refrain from
any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as directed by
the probation officer.

                           STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defendant shall not leave the judicial district without the permission of the Court or probation
         officer;

2.       The defendant shall report to the probation officer as directed by the Court or probation officer and
         shall submit a truthful and complete written report within the first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least 10 days prior to any change in residence or
         employment, unless otherwise directed by the probation officer;

7.       The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to
         such substances, except as prescribed by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       The defendant shall not associate with any persons engaged in criminal activity, and shall not
         associate with any person convicted of a felony unless granted permission to do so by the probation
         officer;



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10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
         shall permit confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcement officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law
         enforcement agency without the permission of the Court;

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
         the probation officer to make such notifications and to confirm the defendant’s compliance with such
         notification requirement.

14.      If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
         the Criminal Monetary Penalties sheet of this judgment.

                   ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised
         release:

         The defendant shall not own or possess a firearm, dangerous weapon or other destructive
         device.

         The defendant shall remain gainfully employed or actively seek employment while under
         supervision, unless he is a full-time student.

         The defendant shall participate in a program of drug and/or alcohol testing, treatment and
         counseling as directed by the probation officers.

         The defendant shall not operate a motor vehicle without possessing a valid drivers’ license.

         The defendant shall cooperate with the Probation Department and/or any other state
         agency responsible for the establishment and enforcement of child support payments.
         Additionally, he shall make all required child support payments.




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                                 CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
in the Schedule of Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

                                              SUMMARY
           Special
     Monetary Assessment                         Fine                            Restitution
               $100.00                           $0.00                              $0.00




                                 SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $100.00 is imposed.

No fine imposed.

No restitution imposed.




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                                    SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7)
penalties in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of
a change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for all payments previously made toward any
criminal monetary penalties imposed.




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